          EXHIBIT
             3



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          EXHIBIT
             1



Case 3:20-cv-00518-FDW-DSC Document 16-3 Filed 01/04/21 Page 5 of 12
From:                  Michelle Gessner
To:                    Pirtle, Shalanna L.
Subject:               Fwd: Marjorie Acevedo v. Tuepen North America - Litigation Hold Notice/Legal Representation
Date:                  Tuesday, January 7, 2020 7:56:35 PM
Attachments:           2020-01-07 - ACEVEDO - Litigation Hold Letter.pdf


***Caution: External email***


Shalanna - I hope you and yours are doing well. I am sending you a courtesy copy of the
attached correspondence just sent to Tuepen re former employee Marjorie Acevedo. Please let
me know if you have authority to discuss on behalf of Teupen.

Many thanks.

Best, Michelle




............................................
Charlotte Office: 602 East Morehead Street • G.G. Galloway House • Charlotte, NC
28202
Tel: 704.234.7442 • Fax: 980.206.0286
............................................
Wilmington Office: 1213 Culbreth Drive, Suite 426 • Wilmington, NC 28405
Tel: 919.218.8268 • Fax: 980.206.0286
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recipient, then please delete it and report the inadvertent delivery to the author.




---------- Forwarded message ---------
From: Michelle Gessner <michelle@mgessnerlaw.com>
Date: Tue, Jan 7, 2020 at 7:54 PM
Subject: Marjorie Acevedo v. Tuepen North America - Litigation Hold Notice/Legal
Representation
To: <mborutta@teupen.com>


Mr. Borutta - Please see attached correspondence.

Regards, Michelle Gessner




    Case 3:20-cv-00518-FDW-DSC Document 16-3 Filed 01/04/21 Page 6 of 12
............................................
Charlotte Office: 602 East Morehead Street • G.G. Galloway House • Charlotte, NC
28202
Tel: 704.234.7442 • Fax: 980.206.0286
............................................
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Tel: 919.218.8268 • Fax: 980.206.0286
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recipient, then please delete it and report the inadvertent delivery to the author.




    Case 3:20-cv-00518-FDW-DSC Document 16-3 Filed 01/04/21 Page 7 of 12
                                        7, 2020

                         –




                                         North America, Inc.




                                         ,
           North America, Inc. (“Teupen”).
         to the undersigned’s attention at the address and telephone number provided below.




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          communications regarding Ms. Acevedo’s performance and/or termination;
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                   –

       7, 2020



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LMG/




  Case 3:20-cv-00518-FDW-DSC Document 16-3 Filed 01/04/21 Page 9 of 12
           EXHIBIT
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Case 3:20-cv-00518-FDW-DSC Document 16-3 Filed 01/04/21 Page 10 of 12
From: Pirtle, Shalanna L. <shalannapirtle@parkerpoe.com>
Sent: Thursday, January 9, 2020 12:07 PM
To: 'Michelle Gessner' <michelle@mgessnerlaw.com>
Subject: RE: Marjorie Acevedo v. Tuepen North America - Litigation Hold Notice/Legal Representation

Hi Michelle,

Same to you! At this point, it does not appear that we will be representing Teupen on this
matter. Perhaps there will be another opportunity for us to work together in the future!

Shalanna

From: Michelle Gessner <michelle@mgessnerlaw.com>
Sent: Tuesday, January 7, 2020 7:56 PM
To: Pirtle, Shalanna L. <shalannapirtle@parkerpoe.com>
Subject: Fwd: Marjorie Acevedo v. Tuepen North America - Litigation Hold Notice/Legal Representation



Shalanna - I hope you and yours are doing well. I am sending you a courtesy copy of the attached
correspondence just sent to Tuepen re former employee Marjorie Acevedo. Please let me know if you
have authority to discuss on behalf of Teupen.

Many thanks.

Best, Michelle




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---------- Forwarded message ---------
From: Michelle Gessner <michelle@mgessnerlaw.com>



      Case 3:20-cv-00518-FDW-DSC Document 16-3 Filed 01/04/21 Page 11 of 12
Date: Tue, Jan 7, 2020 at 7:54 PM
Subject: Marjorie Acevedo v. Tuepen North America - Litigation Hold Notice/Legal Representation
To: <mborutta@teupen.com>


Mr. Borutta - Please see attached correspondence.

Regards, Michelle Gessner




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